Case 2:16-cv-10277-DML-SDD ECF No. 263, PageID.12055 Filed 06/08/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 CONCERNED PASTORS FOR SOCIAL
 ACTION, MELISSA MAYS, AMERICAN
 CIVIL LIBERTIES UNION OF MICHIGAN,
 and NATURAL RESOURCES DEFENSE
 COUNCIL, INC.,

                       Plaintiffs,                           Case Number 16-10277
 v.                                                          Honorable David M. Lawson

 NICK A. KHOURI, FREDERICK HEADEN,
 MICHAEL A. TOWNSEND, MICHAEL A.
 FINNEY, JOEL FERGUSON, SYLVESTER
 JONES, R. STEVEN BRANCH, and
 CITY OF FLINT,

                   Defendants.
 __________________________________________/

                       ORDER EXTENDING BRIEFING DEADLINES

        Based on the stipulation of the parties (ECF No. 262),

        It is ORDERED that the deadline for the City of Flint defendants and non-party Mayor

 Sheldon Neeley to file a response brief in opposition to the plaintiffs’ motion for contempt is

 extended to June 14, 2023.

        It is further ORDERED that the deadline for the plaintiffs to file a reply brief in support

 of their motion for contempt is extended to June 23, 2023 at noon.

                                                             s/David M. Lawson
                                                             DAVID M. LAWSON
                                                             United States District Judge

 Dated: June 8, 2023
